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  1    LAW OFFICES OF CHRISTIAN J. GARRIS
       CHRISTIAN J. GARRIS SBN 175808
  2    633 West Fifth Street, 28th Floor
       Los Angeles, California 90071
  3    Telephone: (213) 624-2900
       Facsimile: (213) 624-2901
  4    Email: cjg@christiangarris.com
  5    Attorneys for Plaintiff
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  7

  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
  10

  11   DARIO HERNANDEZ, an individual,          Case No. CV21-09501
  12                       Plaintiff,           COMPLAINT FOR:
  13         vs.                                BREACH OF PLAN (RECOVERY
                                                OF PLAN BENEFITS)
  14 PRUDENTIAL            INSURANCE
     COMPANY OF AMERICA and
  15 DOES 1-10, inclusive,

  16                       Defendants.
  17
             1.     Plaintiff DARIO HERNANDEZ (“Plaintiff”) complains and alleges:
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  19
                             INTRODUCTORY ALLEGATIONS
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             2.     This Court’s jurisdiction is invoked pursuant to 29 U.S.C. § 1132(e).
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       Plaintiff’s claims arise under the Employee Retirement Income Security Act of
  22
       1974 (“ERISA”), 29 U.S.C. § 1001, et seq. Alternatively, Plaintiff’s claims arise
  23
       in part under ERISA and in part under state law claims falling within the pendent
  24
       or supplemental jurisdiction of this Court, deriving from a common nucleus of
  25
       operative facts.
  26
             3.     Venue is properly within the Central District of California pursuant to
  27
       29 U.S.C. § 1132(e)(2), because the acts complained of have occurred within this
  28


                                            Complaint
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                                                                         1    District, because Defendant resides in or may be found within this district, and
                                                                         2    because the ends of justice so require.
                                                                         3            4.    This action seeks damages for the denial of disability benefits under a
                                                                         4    group disability policy (“the Plan”) established by Plaintiff’s employer, Penske
                                                                         5    Truck Leasing Corporation (“Penske”), and administered by Defendant Prudential
                                                                         6    Insurance Company of America (“Prudential”).
                                                                         7            5.    Plaintiff seeks benefits, attorneys’ fees and costs, and other
                                                                         8    appropriate relief for the improper, erroneous and illegal denial of disability
                                                                         9    benefits owed to Plaintiff, a participant and beneficiary of the Plan.
                                                                         10

                                                                         11                   THE PARTIES AND THEIR RELATIONSHIPS
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                                                                         12           6.    Plaintiff at all times herein mentioned was a resident and citizen of the
                                     633 west fifth street, 28th floor
                                      los angeles, california 90071




                                                                         13   County of Los Angeles, State of California. At all relevant times, Plaintiff was a
                                           fax 213.624.2901
                                            tel 213.624.2900




                                                                         14   participant and beneficiary of the Plan.
                                                                         15           7.    At all relevant times, the Plan was a group benefit plan that provided
                                                                         16   Plaintiff with protection against the risk of disability. Plaintiff was an employee of
                                                                         17   Macy’s and was enrolled at all relevant times in the Plan.
                                                                         18           8.    Prudential is an insurance company authorized and licensed to
                                                                         19   conduct, and is indeed conducting, the business of insurance in the State of
                                                                         20   California. Plaintiff is informed and believes, and thereon alleges, that Prudential
                                                                         21   is a corporation domiciled in the State of New Jersey.
                                                                         22

                                                                         23                              FACTUAL BACKGROUND
                                                                         24           9.    The disability Plan established by Penske was funded and
                                                                         25   administered by Prudential.
                                                                         26           10.   Plaintiff paid all premiums due for the disability coverage under the
                                                                         27   Plan.
                                                                         28           11.   Under the Plan, if Plaintiff is unable to perform the material and
                                                                                                                       2 
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                                                                         1    substantial duties of her regular occupation with reasonable continuity, she is
                                                                         2    entitled to a disability benefit. All benefits are administered and paid under the
                                                                         3    Plan by Prudential. The Plan is funded by an insurance policy issued to Penske by
                                                                         4    Prudential.
                                                                         5          12.     The Plan provides both short-term disability (“STD”) and long-term
                                                                         6    disability (“LTD”) benefits.
                                                                         7          13.     The monthly LTD benefit is 60% of pre-disability income.
                                                                         8          14.     The maximum benefit period is to Plaintiff’s normal Social Security
                                                                         9    retirement age.
                                                                         10         15.     Plaintiff was employed by Penske at all relevant times as a technician.
                                                                         11   This job is very stressful and requires a great deal of physical activity such as
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                                                                         12   lifting and working on large industrial vehicles.
                                     633 west fifth street, 28th floor
                                      los angeles, california 90071




                                                                         13         16.     Plaintiff suffers from lumbar enthesopathy, lumbar disc disorder,
                                           fax 213.624.2901
                                            tel 213.624.2900




                                                                         14   herniated discs, acute sinusitis, right arm tendon pain, diabetes, hypertension, and
                                                                         15   other conditions.
                                                                         16         17.     On or about May 6, 2018, Plaintiff became totally disabled under the
                                                                         17   terms of the Plan.
                                                                         18         18.     Prudential terminated benefits in a letter dated June 11, 2020.
                                                                         19         19.     Plaintiff timely appealed on December 8, 2020, and requested a copy
                                                                         20   of the administrative record.
                                                                         21         20.     On August 3, 2020, Faro Owiesy, M.D., stated that Plaintiff was
                                                                         22   totally disabled due to “rupture of tendons and disc disorder.”          Dr. Owiesy
                                                                         23   concluded that Plaintiff was disabled from any occupation: “This disability is
                                                                         24   permanent he is not able to perform any other job related duties either.”
                                                                         25         21.     On August 21, 2020, K. E. Gabot-Puhawan, M.D., wrote a long list of
                                                                         26   conditions for which Plaintiff was being treated, including lumbar radiculopathy
                                                                         27   and chronic back pain.
                                                                         28         22.     On September 8, 2020, Frederick Davis, M.D., wrote that Plaintiff
                                                                                                                       3 
                                                                                                                     Complaint
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                                                                         1    was disabled from any occupation for which he is suited in light of his training,
                                                                         2    education, and experience. Dr. Davis stated that Plaintiff could not be expected to
                                                                         3    lift more than 10 pounds and that even walking and standing would be very
                                                                         4    difficult for him.
                                                                         5             23.   On or about January 21, 2021, Prudential rejected Plaintiff’s appeal of
                                                                         6    the claim.
                                                                         7             24.   The Plan required payment of benefits within the jurisdiction of the
                                                                         8    above-entitled Court for a total amount to be shown at the time of trial.
                                                                         9             25.   The Plan was entered into within the jurisdiction of the above-entitled
                                                                         10   Court.
                                                                         11            26.   The Plan calls for performance within the jurisdiction of the above-
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                                                                         12   entitled Court.
                                     633 west fifth street, 28th floor
                                      los angeles, california 90071




                                                                         13            27.   Plaintiff has pursued and exhausted all administrative appeals, which
                                           fax 213.624.2901
                                            tel 213.624.2900




                                                                         14   Defendants denied.
                                                                         15

                                                                         16                              FIRST CAUSE OF ACTION
                                                                         17       FOR BREACH OF PLAN AND RECOVERY OF PLAN BENEFITS
                                                                         18                                 (Against All Defendants)
                                                                         19            28.   The allegations contained in all previous paragraphs are incorporated
                                                                         20   herein by reference as though set forth in full.
                                                                         21            29.   The disability Plan established by Penske was funded and
                                                                         22   administered by Prudential.
                                                                         23            30.   Plaintiff paid all premiums due for the disability coverage under the
                                                                         24   Plan.
                                                                         25            31.   Under the Plan, if Plaintiff is unable to perform the material and
                                                                         26   substantial duties of her regular occupation with reasonable continuity, she is
                                                                         27   entitled to a disability benefit. All benefits are administered and paid under the
                                                                         28   Plan by Prudential. The Plan is funded by an insurance policy issued to Penske by
                                                                                                                       4 
                                                                                                                     Complaint
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                                                                         1    Prudential.
                                                                         2          32.     The Plan provides both short-term disability (“STD”) and long-term
                                                                         3    disability (“LTD”) benefits.
                                                                         4          33.     The monthly LTD benefit is 60% of pre-disability income.
                                                                         5          34.     The maximum benefit period is to Plaintiff’s normal Social Security
                                                                         6    retirement age.
                                                                         7          35.     Plaintiff was employed by Penske at all relevant times as a technician.
                                                                         8    This job is very stressful and requires a great deal of physical activity such as
                                                                         9    lifting and working on large industrial vehicles.
                                                                         10         36.     Plaintiff suffers from lumbar enthesopathy, lumbar disc disorder,
                                                                         11   herniated discs, acute sinusitis, right arm tendon pain, diabetes, hypertension, and
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                                                                         12   other conditions.
                                     633 west fifth street, 28th floor
                                      los angeles, california 90071




                                                                         13         37.     On or about May 6, 2018, Plaintiff became totally disabled under the
                                           fax 213.624.2901
                                            tel 213.624.2900




                                                                         14   terms of the Plan.
                                                                         15         38.     Prudential terminated benefits in a letter dated June 11, 2020.
                                                                         16         39.     Plaintiff timely appealed on December 8, 2020, and requested a copy
                                                                         17   of the administrative record.
                                                                         18         40.     On August 3, 2020, Faro Owiesy, M.D., stated that Plaintiff was
                                                                         19   totally disabled due to “rupture of tendons and disc disorder.”          Dr. Owiesy
                                                                         20   concluded that Plaintiff was disabled from any occupation: “This disability is
                                                                         21   permanent he is not able to perform any other job related duties either.”
                                                                         22         41.     On August 21, 2020, K. E. Gabot-Puhawan, M.D., wrote a long list of
                                                                         23   conditions for which Plaintiff was being treated, including lumbar radiculopathy
                                                                         24   and chronic back pain.
                                                                         25         42.     On September 8, 2020, Frederick Davis, M.D., wrote that Plaintiff
                                                                         26   was disabled from any occupation for which he is suited in light of his training,
                                                                         27   education, and experience. Dr. Davis stated that Plaintiff could not be expected to
                                                                         28   lift more than 10 pounds and that even walking and standing would be very
                                                                                                                       5 
                                                                                                                     Complaint
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                                                                         1    difficult for him.
                                                                         2             43.   On or about January 21, 2021, Prudential rejected Plaintiff’s appeal of
                                                                         3    the claim.
                                                                         4             44.   The Plan required payment of benefits within the jurisdiction of the
                                                                         5    above-entitled Court for a total amount to be shown at the time of trial.
                                                                         6             45.   The Plan was entered into within the jurisdiction of the above-entitled
                                                                         7    Court.
                                                                         8             46.   The Plan calls for performance within the jurisdiction of the above-
                                                                         9    entitled Court.
                                                                         10            47.   Plaintiff has pursued and exhausted all administrative appeals, which
                                                                         11   Defendants denied.
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                                                                         12            48.   As a direct and proximate result of Defendant’s refusal to honor the
                                     633 west fifth street, 28th floor
                                      los angeles, california 90071




                                                                         13   terms of the Plan, Plaintiff has suffered contractual damages under the and other
                                           fax 213.624.2901
                                            tel 213.624.2900




                                                                         14   incidental damages and out-of-pocket expenses, including attorney fees and costs,
                                                                         15   all in a sum to be determined at the time of trial.
                                                                         16

                                                                         17                                 PRAYER FOR RELIEF
                                                                         18            WHEREFORE, Plaintiff prays for judgment as follows:
                                                                         19            1.    For benefits payable under the Plan to reimburse Plaintiff, a
                                                                         20   beneficiary and participant of the Plan, less amounts previously paid, plus interest;
                                                                         21            2.    For reasonable attorneys’ fees and costs pursuant to 29 U.S.C. §
                                                                         22   1132(g)(1);
                                                                         23            3.    For pre-judgment interest at the appropriate rate; and
                                                                         24            4.    For such other relief as the court deems appropriate.
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                                                                                                                      Complaint
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                                                                         1    Dated: December 8, 2021   LAW OFFICES OF CHRISTIAN J. GARRIS
                                                                         2
                                                                                                        By:_____________________________
                                                                         3                                   Christian J. Garris, Esq.
                                                                         4                              Attorneys for Plaintiff
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                                     633 west fifth street, 28th floor
                                      los angeles, california 90071




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                                           fax 213.624.2901
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                                                                                                             Complaint
